

People v Paul (2021 NY Slip Op 02717)





People v Paul


2021 NY Slip Op 02717


Decided on April 30, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2021

PRESENT: CARNI, J.P., LINDLEY, NEMOYER, CURRAN, AND TROUTMAN, JJ. (Filed Apr. 30, 2021.) 


MOTION NO. (78/19) KA 01-01982.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vSHONDELL J. PAUL, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








